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   And Jacobs Consultancy Inc

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

                                                    )
   THE TRUSTEES OF PRINCETON                        )
   UNIVERSITY                                       )
                                                    )
             Plaintiff,                             ) Civil Action No. 3:19-cv-21248-
   vs.                                              ) BRM-LHG
                                                    )
   TOD WILLIAMS BILLIE TSIEN                        )
    ARCHITECTS, LLP; JACOBS                         )
    ARCHITECTS/ENGINEERS, INC.;                     )
    and JACOBS CONSULTANCY                          )
    INC.,                                           )
                                                    )
             Defendants.                            )
                                                    )
                                                    )
    TOD WILLIAMS BILLIE TSIEN                       )
     ARCHITECTS, LLP,                               )
                                                    )
             Third-Party Plaintiff,                 )
   vs.                                              )
                                                    )
    ARUP USA, INC. and F.J. SCIAME                  )
     CONSTRUCTION COMPANY, INC.,                    )
                                                    )
            Third-Party Defendants.                 )
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                     JACOBS ARCHITECTS/ENGINEERS, INC.’S AND
                    JACOBS CONSULTANCY, INC.’S AMENDED AND
                  SUPPLEMENTAL ANSWER, AFFIRMATIVE DEFENSES,
                        COUNTERCLAIM, AND CROSS-CLAIMS

         COME NOW Jacobs, Jacobs Architects/Engineers, Inc. (“Jacobs A/E”) and Jacobs

  Consultancy, Inc. (“Jacobs Consultancy”) (collectively, the “Jacobs Entities”), by undersigned

  counsel, and    submit this Amended and Supplemented Answer, Affirmative Defenses and

  Counterclaim and Cross-Claims in response to the Complaint filed by Plaintiff the Trustees of

  Princeton University (“Princeton”). In support thereof, the Jacobs Entities allege as follows:

         1.      The Jacobs Entities admit only that Jacobs A/E and Jacobs Consultancy entered

  into sub-consultant agreements with Tod Williams Billie Tsien Architects, Inc. (“TWBTA”)

  related to The Andlinger Center for Energy and the Environment (“the “Project”). With regard to

  the allegations in Paragraph 1 of the Complaint, the sub-consultant agreements are written

  documents that speak for themselves and are the best evidence of their terms. The Jacobs Entities

  deny any inconsistent characterization thereof. The Jacobs Entities admit further that Plaintiff has

  failed to name in its Complaint the sub-consultant to TWBTA that is responsible for all or a portion

  of the alleged claims and damages asserted against the Jacobs Entities. The remaining allegations

  of Paragraph 1 of the Complaint are denied.

         2.      The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 2 of the Complaint, and therefore, deny such

  allegations.

         3.      The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 3 of the Complaint, and therefore, deny such

  allegations.




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         4.      The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 4 of the Complaint, and therefore, deny such

  allegations.

         5.      The Jacobs Entities admit only that Jacobs A/E is a Delaware corporation with its

  principal office located at 777 Main Street, Fort Worth, Texas 76102. With regard to the allegations

  in the second sentence of Paragraph 5 of the Complaint, the sub-consultant agreement is a written

  document that speaks for itself and is the best evidence of its own terms. To the extent any further

  response is required, the Jacobs Entities deny the allegations in the second sentence of Paragraph

  5 of the Complaint.

         6.      The Jacobs Entities admit only that Jacobs Consultancy is a Texas corporation with

  an office located at 5995 Rogerdale Road, Houston, Texas. With regard to the allegations in the

  second sentence of Paragraph 6 of the Complaint, the sub-consultant agreement is a written

  document that speaks for itself and is the best evidence of its own terms. The Jacobs Entities deny

  any inconsistent characterization thereof. To the extent any further response is required, the Jacobs

  Entities deny all remaining allegations of Paragraph 6 of the Complaint.

         7.      The allegations of Paragraph 7 of the Complaint constitute legal conclusions to

  which no response is required. To the extent any further response is required, the Jacobs Entities

  deny all allegations of Paragraph 7 of the Complaint.

         8.      The allegations of the first sentence of Paragraph 8 of the Complaint constitute legal

  conclusions to which no response is required. Moreover, with regard to the allegations in the first

  and second sentences of Paragraph 8 of the Complaint, the Jacobs Entities are without sufficient

  knowledge or information to form a belief as to the allegations in Paragraph 8 of the Complaint.




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  To the extent any further response is required, the Jacobs Entities deny the allegations in Paragraph

  8 of the Complaint.

         9.      The allegations of the first and second sentences of Paragraph 9 of the Complaint

  constitute legal conclusions to which no response is required. Moreover, with regard to the

  allegations in the first sentence of Paragraph 9 of the Complaint, the sub-consultant agreement is

  a written document that speaks for itself and is the best evidence of its own terms. The Jacobs

  Entities deny any inconsistent characterization thereof. To the extent any further response is

  required, the Jacobs Entities deny the allegations in Paragraph 9 of the Complaint.

         10.     The allegations of the first and second sentences of Paragraph 10 of the Complaint

  constitute legal conclusions to which no response is required. Moreover, with regard to the

  allegations of the first sentence in Paragraph 10 of the Complaint, the sub-consultant agreement is

  a written document that speaks for itself and is the best evidence of its own terms. The Jacobs

  Entities deny any inconsistent characterization thereof. To the extent any further response is

  required, the Jacobs Entities deny the allegations in Paragraph 10 of the Complaint.

         11.     The allegations of Paragraph 11 of the Complaint constitute legal conclusions to

  which no response is required. To the extent any further response is required, the Jacobs Entities

  deny the allegations in Paragraph 11 of the Complaint.

         12.     With regard to the allegations of the first sentence in Paragraph 12 of the Complaint,

  the RFP is a written document that speaks for itself and is the best evidence of its own terms. The

  Jacobs Entities deny any inconsistent characterization thereof. The Jacobs Entities are without

  sufficient knowledge or information to form a belief as to the remaining allegations in Paragraph

  12 of the Complaint, and therefore, deny such allegations.




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         13.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the remaining allegations in Paragraph 13 of the Complaint, and therefore, deny such

  allegations.

         14.     The Jacobs Entities admit only that TWBTA entered into subconsultant agreements

  with Jacobs A/E and Jacobs Consultancy. The subconsultant agreements are written documents

  that speak for themselves and are the best evidence of their terms. The Jacobs Entities deny any

  inconsistent characterization thereof. To the extent any further response is required, the Jacobs

  Entities deny the allegations of Paragraph 14 of the Complaint.

         15.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 15 of the Complaint, and therefore, deny such

  allegations.

         16.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 16 of the Complaint, and therefore, deny such

  allegations.

         17.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  17 of the Complaint.

         18.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  18 of the Complaint.




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         19.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  19 of the Complaint.

         20.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  20 of the Complaint.

         21.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  21 of the Complaint.

         22.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  22 of the Complaint.

         23.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  23 of the Complaint.

         24.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To




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  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  24 of the Complaint.

         25.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  25 of the Complaint.

         26.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  26 of the Complaint.

         27.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  27 of the Complaint.

         28.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  28 of the Complaint.

         29.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  29 of the Complaint.




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         30.     The Design Contract is a written document that speaks for itself and is the best

  evidence of its own terms. The Jacobs Entities deny any inconsistent characterization thereof. To

  the extent any further response is required, the Jacobs Entities deny the allegations of Paragraph

  30 of the Complaint.

         31.     Denied.

         32.     Denied.

         33.     Denied.

         34.     Denied.

         35.     Denied.

         36.     Denied.

         37.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 37 of the Complaint, and therefore, deny such

  allegations.

         38.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 38 of the Complaint, and therefore, deny such

  allegations.

         39.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 39 of the Complaint, and therefore, deny such

  allegations.

         40.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 40 of the Complaint, and therefore, deny such

  allegations.




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         41.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 41 of the Complaint, and therefore, deny such

  allegations.

         42.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 42 of the Complaint, and therefore, deny such

  allegations.

         43.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 43 of the Complaint, and therefore, deny such

  allegations.

         44.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 44 of the Complaint, and therefore, deny such

  allegations.

         45.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 45 of the Complaint, and therefore, deny such

  allegations.

         46.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 46 of the Complaint, and therefore, deny such

  allegations.

         47.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 47 of the Complaint, and therefore, deny such

  allegations.

         48.     Denied.




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         49.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 49 of the Complaint, and therefore, deny such

  allegations.

         50.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 50 of the Complaint, and therefore, deny such

  allegations.

         51.     Denied.

         52.     The allegations of Paragraph 52 of the Complaint constitute legal conclusions to

  which no response is required. To the extent any further response is required, the Jacobs Entities

  deny the allegations of Paragraph 52 of the Complaint.

         53.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 53 of the Complaint, and therefore, deny such

  allegations.

         54.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 54 of the Complaint, and therefore, deny such

  allegations.

         55.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 55 of the Complaint, and therefore, deny such

  allegations.

         56.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 56 of the Complaint, and therefore, deny such

  allegations.




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         57.     The allegations of Paragraph 57 of the Complaint constitute legal conclusions to

  which no response is required. To the extent any further response is required, the Jacobs Entities

  deny the allegations of Paragraph 57 of the Complaint.

         58.     The Jacobs Entities are without sufficient knowledge or information to form a belief

  as to the allegations contained in Paragraph 58 of the Complaint, and therefore, deny such

  allegations.

         59.     The Jacobs Entities admit only that ASI 36 addressed a change in the clean room,

  and that the clean room was equipped with an advanced air filtration system, otherwise denied.

         60.     Denied.

         61.     Denied.

         62.     Denied.

         63.     Denied.

         64.     Denied.

         65.     Denied.

         66.     Denied.

         67.     Denied.

         68.     Denied.

                                         COUNT ONE
                           (Breach of Contract Claim Against TWBTA)

         69.     The Jacobs Entities repeat and incorporate by reference their responses to

  Paragraphs 1 through 68 above, as if fully set forth herein.

         70.     The allegations of Count One, at Paragraphs 70 – 72 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,




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  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count One, Paragraph 70 of the Complaint.

         71.     The allegations of Count One, at Paragraphs 70 – 72 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,

  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count One, Paragraph 71 of the Complaint.

         72.     The allegations of Count One, at Paragraphs 70 – 72 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,

  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count One, Paragraph 72 of the Complaint and in the unnumbered Wherefore clause.

                                          COUNT TWO
                                (Negligence Claim Against TWBTA)

         73.     The Jacobs Entities repeat and incorporate by reference their responses to

  Paragraphs 1 through 72 above, as if fully set forth herein.

         74.     The allegations of Count Two, at Paragraphs 74 - 77 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,

  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count Two, Paragraph 74 of the Complaint.

         75.     The allegations of Count Two, at Paragraphs 74 - 77 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,

  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count Two, Paragraph 75 of the Complaint.

         76.     The allegations of Count Two, at Paragraphs 74 - 77 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,



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  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count Two, Paragraph 76 of the Complaint.

            77.     The allegations of Count Two, at Paragraphs 74 - 77 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,

  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count Two, Paragraph 77 of the Complaint, and in the unnumbered Wherefore

  clause.

                                         COUNT THREE
                  (Declaratory Judgement – Indemnification Claim Against TWBTA)

            78.     The Jacobs Entities repeat and incorporate by reference their responses to

  Paragraphs 1 through 77 above, as if fully set forth herein.

            79.     The allegations of Count Three, at Paragraphs 79 - 82 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,

  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count Three, Paragraphs 79 of the Complaint.

            80.     The allegations of Count Three, at Paragraphs 79 - 82 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,

  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count Three, Paragraphs 80 of the Complaint.

            81.     The allegations of Count Three, at Paragraphs 79 - 82 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,

  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count Three, Paragraphs 81 of the Complaint.




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            82.    The allegations of Count Three, at Paragraphs 79 - 82 of the Complaint, including

  the unnumbered Wherefore clause, are not asserted against the Jacobs Entities, and therefore,

  require no response. To the extent any further response is required, the Jacobs Entities deny the

  allegations in Count Three, Paragraphs 82 of the Complaint and in the unnumbered Wherefore

  clause.

                                       COUNT FOUR
        (Third Party Beneficiary Breach of Contract Claim Against the Jacobs Entities)

            83.    The Jacobs Entities repeat and incorporate by reference their responses to

  Paragraphs 1 through 82 above, as if fully set forth herein.

            84.    The sub-consultant agreements are written documents that speak for themselves

  and are the best evidence of their own terms. The Jacobs Entities deny any inconsistent

  characterization thereof. To the extent any further response is required, the Jacobs Entities deny

  the allegations of Paragraph 84 of the Complaint.

            85.    Denied.

            86.    Denied.

            87.    Denied.

            The Jacobs Entities deny each and every allegation of Plaintiff’s unnumbered Wherefore

  clause and Prayer for Relief.

                                            COUNT FIVE
                             (Negligence Claim Against the Jacobs Entities)

            88.    The Jacobs Entities repeat and incorporate by reference their responses to

  Paragraphs 1 through 87 above, as if fully set forth herein.

            89.    Denied.




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         90.     The allegations of Paragraph 90 of the Complaint constitute legal conclusions to

  which no response is required. To the extent any further response is required, the Jacobs Entities

  deny the allegations of Paragraph 90 of the Complaint.

         91.     Denied.

         92.     Denied. The Jacobs Entities further deny each and every allegations in the

  unnumbered Wherefore clause.

         The Jacobs Entities deny each and every allegation of Plaintiff’s unnumbered Wherefore

  clause and Prayer for Relief.

                                       AFFIRMATIVE DEFENSES

         1.      The Complaint fails to state a cause of action against the Jacobs Entities upon which

  relief can be granted.

         2.      Plaintiff’s negligence claims are barred from recovery under the gist of the action

  and economic loss doctrines.

         3.      Plaintiff’s negligence claims are barred from recovery because the Jacobs Entities

  never breached any duty owed to Plaintiff.

         4.      Plaintiff’s claims are barred from recovery because there are no monies due and

  owing from the Jacobs Entities to Plaintiff.

         5.      Plaintiff’s claims are barred from recovery to the extent Plaintiff materially

  breached its duties and obligations under the contract.

         6.      Plaintiff’s claims are barred from recovery due to Plaintiff’s failure to mitigate its

  damages.

         7.      Plaintiff’s claims are subject to set-off, recoupment, or backcharges.

         8.      Plaintiff’s claims are barred from recovery by the doctrines of waiver and estoppel.




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         9.      Plaintiff’s claims are barred from recovery by the doctrines of payment and accord

  and satisfaction.

         10.     Plaintiff’s claims are barred from recovery by the limitations on the liability of the

  Jacobs Entities included in their sub-consultant agreements.

         11.     Plaintiff’s claims are barred from recovery by the statute of limitations.

         12.     Plaintiff’s claims are barred from recovery due to failure of consideration, and

  failure to meet preconditions to recovery.

         13.     Plaintiff’s claims are barred, in whole or in part, because the conduct of one or more

  third parties was the sole proximate cause, superseding and/or intervening cause of the damages,

  if any, complained of by the Plaintiff.

         14.     Plaintiff’s claims are barred, in whole or in part, because the conduct of one or more

  third parties solely caused and/or contributed to the damages, if any, complained of by the Plaintiff.

         15.     The Jacobs Entities reserve the right to assert any other defenses as may be

  developed through discovery or trial.

         WHEREFORE, having fully answered, Jacobs Architects/Engineers, Inc. and Jacobs

  Consultancy Inc. request this Honorable Court to enter judgment in favor of Jacobs Architects &

  Engineers, Inc. and Jacobs Consultancy, Inc. and against Plaintiff, the Trustees of Princeton

  University, with an award of costs, including attorneys’ fees, interest, and such other relief as this

  Honorable Court may deem just and proper.




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                JACOBS ARCHITECTS & ENGINEERS, INC.’S
   AND JACOBS CONSULTANCY, INC.’S COUNTERCLAIM AGAINST PRINCETON
   AND CROSS-CLAIMS AGAINST TWBTA, ARUP, SCIAME, JOHN DOES 1–10, AND
                       ABC CORPORATIONS 1–10

         A.      Overview

         1.      Counterclaim and Cross-Plaintiffs Jacobs A&E and Jacobs Consultancy bring this

  Counterclaim and Cross-Claims for Breach of Contract against Counterclaim Defendant, the

  Trustees of Princeton University and for Breach of Contract and Quantum Meruit against Cross-

  Claim Defendants, Tod Williams Billie Tsien Architects, Inc. for failure to make payment for work

  properly performed, and against Arup, USA, Inc. (“Arup”), F.J. Sciame Construction Company,

  Inc. (“Sciame”), John Does 1–10, and ABC Corporations 1–10, for contribution and

  indemnification.

         B.      The Parties

         2.      Jacobs A&E is a corporation organized and existing under the laws of the State of

  Delaware, with its principal place of business located at 777 Main Street, Fort Worth, Texas 76102.

         3.      Jacobs Consultancy is a corporation organized and existing under the laws of the

  State of Texas, with its principal place of business located at 5995 Rogerdale Road, Houston,

  Texas 77072.

         4.      Upon information and belief, Princeton is an education institution, existing under

  the laws of the State of New Jersey, with its principal place of business located at One Nassau

  Hall, Princeton University, Princeton, New Jersey 08544.

         5.      Upon information and belief, TWBTA is a limited liability partnership organized

  under the laws of the State of New York, with its principal place of business located at 222 Central

  Park South, New York, New York 10019.




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         6.      Upon information and belief, Arup conducts business at 77 Water Street, New

  York, New York 10005, and it entered into a contract with TWBTA or otherwise agreed with

  TWBTA to perform as the mechanical, electrical, and plumbing engineering consultant on the

  project.

         7.      Upon information and belief, Sciame conducts business at 14 Wall Street, 2nd Floor,

  New York, New York 10005, and it entered into a Guaranteed Maximum Price (“GMP”)

  Construction Services Contract with Plaintiff to provide construction services on the Project in

  accordance with the contract documents that included the TWBTA plans and specifications.

         8.      Upon information and belief, Third-Party Defendants John Does 1–10 are

  individuals who contracted with Plaintiff, Arup, Sciame, TWBTA or some other project participant

  to provide design, construction, professional, consulting or management services on the subject

  Project.

         9.      Upon information and belief, Third-Party Defendants ABC Corporations 1–10 are

  corporations, partnerships, or other business entities that contracted with Plaintiff, Arup, Sciame,

  TWBTA or some other project participant to provide design, construction, professional, consulting

  or management services on the subject Project.

         C.      Jurisdiction and Venue

         10.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 with respect to

  Counterclaim and Cross-Claims because there is complete diversity of citizenship among the

  original parties to Plaintiff’s Complaint and the amount in controversy exceeds $75,000, excluding

  interest and costs.




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         11.     The Cross-Claims against Arup, Sciame, John Does 1–10, and ABC Corporations

  1–10 are substantially related to the claims at issue in the Complaint and this Court has

  supplemental jurisdiction over the same.

         12.     Venue is proper in the United States District Court for the District of New Jersey

  pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the acts and omissions giving rise

  to the claims asserted herein occurred in this judicial district. Venue is also proper in this District

  as each of the Defendants have agreed to the exclusive jurisdiction of the State and federal courts

  of New Jersey for any action related to the Project.

         D.      Factual Allegations Common to All Counts

         13.     Upon information and belief, in 2008, Princeton issued a Request for Proposals for

  the design and construction of the Project.

         14.     Upon information and belief, in February 2009, Princeton entered into an

  architectural design contract (the “Design Contract”) with TWBTA for services related to the

  Project. Article VI(c)(3) of the Design Contract requires TWBTA to include a provision naming

  Princeton as a third-party beneficiary in each of its agreements with any sub-consultants for work

  to be performed related to the Project. Furthermore, in Article VI(e)(2) of the Design Contract,

  Princeton provides its express approval to TWBTA to contract with Jacobs A/E and Jacobs

  Consultancy to perform work related to the Project.

         15.     In furtherance of the Design Contract and Princeton’s express approval, TWBTA

  entered into an Agreement Between Architect and Consultant, as amended, with Jacobs A/E, dated

  January 9, 2012, for the performance of services related to the laboratory spaces in the Project

  (“Jacobs A/E Subconsultant Agreement”). In accordance with the requirements of the Design

  Contract, Princeton is named as a third-party beneficiary of the Jacobs A/E Subconsultant




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  Agreement. A copy of the Jacobs A/E Subconsultant Agreement, dated January 9, 2012 is attached

  hereto as Exhibit A.

         16.     In furtherance of the Design Contract and Princeton’s express approval, TWBTA

  entered into an Agreement Between Architect and Consultant with Jacobs Consultancy, dated

  October 10, 2014, for the performance of services related to the laboratory spaces in the Project

  (“Jacobs Consultancy Subconsultant Agreement”). In accordance with the requirements of the

  Design Contract, Princeton is named as a third-party beneficiary of the Jacobs A/E Subconsultant

  Agreement. A copy of the Jacobs Consultancy Subconsultant Agreement, dated January 9, 2012

  is attached hereto as Exhibit B.

         17.     Article 3.4 of the Jacobs A/E Subconsultant Agreement and the Jacobs Consultancy

  Sub-Consultant Agreement provides for Jacobs A/E to submit monthly invoices for payment for

  their fee, for work billed at hourly rates, for the reimbursement of expenses incurred in the

  performance of the work.

         18.     Pursuant to Article 3.5 of the Jacobs A/E Subconsultant Agreement and the Jacobs

  Consultancy Sub-Consultant Agreement, the invoices submitted by Jacobs are to be paid by

  TWBTA within ten (10) days of receipt of payment from Princeton. Article 3.5(a) provides,

  however, that the Jacobs Entities are to be paid within 30 days of TWBTA’s receipt of any invoice,

  notwithstanding receipt of payment from Princeton, where Princeton’s failure and refusal to make

  all or any portion of the payment is the result of acts or omissions that are the responsibility of

  TWBTA or its sub-consultants, not including the Jacobs Entities.

         19.     Jacobs A/E and Jacobs Consultancy properly performed their services in

  accordance with the Jacobs A/E Sub-Consultant Agreement and the Jacobs Consultancy Sub-

  Consultant Agreement, documented and recorded the hours and work performed and expenses




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  incurred and timely submitted invoices. Princeton and TWBTA have failed and refused to pay

  Jacobs A/E and Jacobs Consultancy for their work and services performance and to reimburse

  expenses in accordance with the Jacobs A/E and Jacobs Consultancy Sub-Consultant Agreements.

  Princeton and TWBTA’s refusal to pay the Jacobs Entities is not justified or otherwise properly

  based on any acts, failure to act or omission by either or both of the Jacobs Entities.

         20.     Upon information and belief, Arup’s scope of services included, but were not

  limited to, providing designs that TWBTA incorporated into the plans and specifications,

  responding to requests for information, reviewing shop drawings/submittals, and reviewing change

  order requests related to its scope of services on the Project.

         21.     Upon information and belief, Arup, alone, or in concert with Defendants other than

  the Jacobs Entities and/or the Plaintiff, failed and/or refused to perform in accordance with the

  requirements of its subcontract with TWBTA, thereby causing the delays and damages complained

  of by the Plaintiff in its Complaint.

         22.     Upon information and belief, Arup, alone or in concert with Defendants other than

  the Jacobs Entities and/or the Plaintiff, made decisions and substitutions altering the requirements,

  recommendations and/or selections made by Jacobs A/E and/or Jacobs Consultancy, and failed to

  coordinate with, or notify either or both of the Jacobs Entities of these decisions and substitutions,

  thereby causing the delays and damages complained of by the Plaintiff in its Complaint.

         23.     Upon information and belief, Sciame, alone, or in concert with Defendants other

  than the Jacobs Entities and/or the Plaintiff, failed and/or refused to perform in accordance with

  the requirements of the contract documents, which included the TWBTA plans and specifications,

  thereby causing the delays and damages complained of by the Plaintiff in its Complaint.




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         24.       Upon information and belief, Sciame, alone or in concert with Defendants other

  than the Jacobs Entities and/or the Plaintiff, made incorporated changes in the Project that were

  not in conformance with the contract documents, which included the TWBTA plans and

  specifications, and failed to coordinate with, or notify, either or both of the Jacobs Entities in

  advance of the changes, thereby causing the delays and damages complained of by the Plaintiff in

  its Complaint.

         25.       Upon information and belief, Sciame, alone or in concert with Defendants other

  than the Jacobs Entities and/or Plaintiff, submitted numerous unnecessary change orders and

  requests for information, thereby causing the damages complained of by the Plaintiff in its

  Complaint..

                                          COUNT ONE
                        (Breach of Contract Against Princeton and TWBTA)

         26.       The Jacobs Entities hereby restate and reallege the allegations set forth in
  Paragraphs 1 through 25 above and incorporates them by reference as if fully stated herein.

         27.       TWBTA entered into written contracts with Jacobs A/E and Jacobs Consultancy to
  pay for consulting services rendered on a time and materials basis. Princeton is a third-party

  beneficiary named in the sub-consultant agreements between TWBTA and Jacobs A/E and

  TWBTA and Jacobs Consultancy.
         28.       Jacobs A/E performed services for Princeton and TWBTA in accordance with the

  terms of the Jacobs A/E Sub-Consultant Agreement.
         29.       Jacobs Consultancy performed services for Princeton and TWBTA in accordance

   with the terms of the Jacobs Consultancy Sub-Consultant Agreement.
         30.       The Jacobs Entities have demanded payment for all fees, unpaid services and

  unreimbursed expenses incurred and rendered to Princeton and TWBTA, and by the filing of this

  Counterclaim and Cross-Claim hereby demand payment of the unpaid sums.
         31.       Princeton and TWBTA have materially breached the sub-consultant agreements


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  with the Jacobs Entities by failing and refusing to make full payment for the fees, services and

  expenses.
         WHEREFORE Jacobs A/E and Jacobs Consultancy demand judgment on this Count

  against Princeton and TWBTA for monetary damages in an amount not less than $315,000 to be
  proven at trial, and for attorneys’ fees, costs, pre-judgment and post-judgment interest, at the

  highest rate permitted under New Jersey law, and such other relief as this Honorable Court may

  deem just and proper.
                                        COUNT TWO
                                (Quantum Meruit Against TWBTA)

         32.     The Jacobs Entities hereby restate and reallege the allegations set forth in

  Paragraphs 1 through 31 above and incorporates them by reference as if fully set forth herein.
         33.     The Jacobs Entities assert this action for Quantum Meruit against TWBTA in the

  alternative and only to the extent that this Court finds that no Contract exists between Jacobs A/E
  and TWBTA and Jacobs Consultancy and TWBTA under which Jacobs A/E and Jacobs

  Consultancy may recover all fees, costs and expenses incurred to complete the Project.

         34.     TWBTA requested services from Jacobs A/E and Jacobs Consultancy related to the
  Project and its Design Contract with Princeton as set forth in the Jacobs A/E Sub-Consultant

  Agreement and the Jacobs Consultancy Sub-Consultant Agreement. TWBTA agreed to pay Jacobs
  A/E and Jacobs Consultancy for those services, including their fee, and to reimburse the Jacobs

  Entities for Project-related expenses.

         35.     The Jacobs Entities provided the services requested by TWBTA in good faith and
  in reliance upon TWBTA’s promises to compensate the Jacobs Entities for the work. The

  reasonable value of those services, including reasonable fee and related expenses, is at least
  $315,000. Accordingly, Jacobs A/E and Jacobs Consultancy are entitled to the reasonable value of

  the services performed for, and provided to, TWBTA, for which TWBTA has failed and refused

  to make payment.




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            WHEREFORE Jacobs A/E and Jacobs Consultancy demand judgment on this Count

  against TWBTA for monetary judgment in an amount not less than $350,000 to be proven at trial,
  and for attorneys’ fees, costs, pre-judgment and post-judgment interest, at the highest rate

  permitted under New Jersey law, and such other relief as this Honorable Court may deem just and
  proper.

                                               COUNT THREE

             (Implied, Equitable and Comparative Indemnification Cross-Claim Against
                    Arup, Sciame, John Does 1–10, and ABC Corporations 1–10)

            36.   The Jacobs Entities hereby restate and reallege the allegations set forth in
  Paragraphs 1 through 35 above and incorporate them by reference as if fully set forth herein.

            37.   The Jacobs Entities deny all legal liability and responsibility for the acts alleged in
  Plaintiff’s Complaint.

            38.   The Jacobs Entities contend that they are in no way legally responsible for the

  events giving rise to the Plaintiff's causes of action, or legally responsible in any other manner for

  the damages allegedly sustained by the Plaintiff. If as a result of the matters alleged in Plaintiff's

  Complaint, however, the Jacobs Entities, or either of them, are held liable for all or any part of the

  claims or damages asserted against them by the Plaintiff, cross-defendants, including, without

  limitation, Arup and Sciame, and each of them, to the extent that their fault was a proximate cause

  of Plaintiff's damages and/or losses, are responsible for said damages and/or losses in proportion

  to each cross-defendants' comparative fault and negligence and the Jacobs Entities are entitled to

  a determination of several liability.

            39.   If the Jacobs Entities should be found liable to Plaintiff herein, which liability is
  denied, such liability is secondary, constructive, vicarious, passive, technical, or imputed and the

  liability of the other Defendants including Arup, Sciame, John Does 1–10, and/or ABC
  Corporations 1–10, is primary, active, and direct, and such Defendants are obligated by operation

  of law, contract, and otherwise to indemnify and defend and hold harmless Jacobs A/E and/or


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  Jacobs Consultancy from any and all claims which are the subject of Plaintiff’s Complaint and for

  which they are liable.
          40.    The Jacobs Entities contend that they are in no way legally responsible for the

  alleged acts, omissions and/or events giving rise to Plaintiff's action and are in no way legally
  responsible in any manner for the damages allegedly sustained by Plaintiff. If the Jacobs Entities

  are held to be liable for all or any part of the claim for damages asserted against them by the

  Plaintiff, then the Jacobs Entities are informed and believe, and, based upon such information and
  belief, allege that the cross-defendants, including, without limitation, Arup and Sciame, and each

  of them, were negligent, breached their duties and obligations, and/or breached their contracts
  and/or agreements. The Jacobs Entities are informed and believe that the acts of the cross-

  defendants, and each of them, were the proximate cause of the alleged damages and/or losses to

  Plaintiff.
          41.    The Jacobs Entities are entitled to indemnity from cross-defendants, including,

  without limitation, Arup and Sciame, and each of them, for all costs, fees, expenses, settlements
  and judgments paid by and incurred by the Jacobs Entities in connection with this litigation.

          WHEREFORE, the Jacobs Entities herein demand judgment on this Count Three against
  Arup, Sciame, John Does 1–10, and/or ABC Corporations 1–10 for common law, equitable and

  comparative indemnification.
                                        COUNT FOUR
                   (Declaratory Relief Against Arup, Sciame, John Does 1–10,
                                 and ABC Corporations 1–10)

          42.    The Jacobs Entities hereby restate and reallege the allegations set forth in

  Paragraphs 1 through 41 above and incorporate them by reference as if fully set forth herein.

          43.    An actual controversy has arisen between the Jacobs Entities and cross-defendants,
  including, without limitation, Arup and Sciame, and each of them, with respect to the rights,

  obligations and duties of the parties. The Jacobs Entities contend that they are without fault,
  responsibility or blame for any of the damages that Princeton alleges it has suffered. Rather, these


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  acts were committed by the cross-defendants, or either of them. The Jacobs Entities contend that

  they are entitled to indemnity from the cross-defendants, and each of them. The Jacobs Entities
  are informed and believe, and therefore, allege that the cross-defendants, and each of them, contend

  to the contrary.
         WHEREFORE, the Jacobs Entities pray for a declaration of their rights and duties.


                                         COUNT FIVE
                         (Contribution Cross-Claim Against Arup, Sciame,
                           John Does 1–10, and ABC Corporations 1–10)

         44.     The Jacobs Entities hereby restate and reallege the allegations set forth in
  Paragraphs 1 through 43 above and incorporate them by reference as if fully set forth herein.
         45.     If either or both of the Jacobs Entities should be found liable to Plaintiff, which

  liability is denied, the Jacobs Entities assert that the cross-defendants including Arup, Sciame,

  John Does 1–10, and/or ABC Corporations 1–10, are joint tortfeasors with respect to any loss,
  liability, or expense on account of the Plaintiff’s Complaint.

         WHEREFORE, the Jacobs Entities herein demand judgment on this Count against Arup,
  Sciame, John Does 1–10, and/or ABC Corporations 1–10, in accordance with the provisions of the

  New Jersey Tortfeasors Contribution Law, N.J.S.A. 2A:53A-1, et. seq., and the Comparative

  Negligence Act, N.J.S.A. 2A:15-5.1, et seq.


                                 DEMAND FOR A JURY TRIAL

         Jacobs A/E and Jacobs Consultancy demand a jury trial for all issues so triable.


  Dated: June 12, 2020




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                                      Respectfully Submitted,



                                By:   __________________________
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                                      Attorneys for Jacobs Architects/Engineers, Inc.
                                       And Jacobs Consultancy Inc.
                                      .


                                 CERTIFICATE OF SERVICE


            This is to certify that on the 12th day of June 2020, a true and correct copy of the

  foregoing Jacobs Architects & Engineers, Inc.’s and Jacobs Consultancy, Inc.’s Amended and

  Supplemental Answer, Affirmative Defenses, Counterclaim and Cross-Claims was served via ECF

  upon all counsel of record.




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